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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                     4:13CR3115

       vs.
                                                          MEMORANDUM AND ORDER
CHARLES J. BAASCH, JUSTIN LEE
ORSTAD, JAMES M. HOLZ,

                      Defendants.

       Defendant Orstad has moved to continue the trial currently set for December 30, 2013.
(Filing No. 67). As explained in the motion, the defendant needs additional time to investigate
this case and consider his options for resolving the case.. The motion to continue is unopposed.
Based on the showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

       IT IS ORDERED:

       1)      Defendant Orstad’s motion to continue, (filing no. 67), is granted.

       2)      As to all defendants, the trial of this case is set to commence before the
               Honorable Richard G. Kopf, Senior United States District Judge, in Courtroom 1,
               United States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on February 3, 2014,
               or as soon thereafter as the case may be called, for a duration of ten (10) trial
               days. Jury selection will be held at commencement of trial.

       3)      Based upon the showing set forth in the defendant Orstad’s motion, the
               representations of counsel, and the pendency of co-defendant Holz pending
               motions, the Court further finds that the ends of justice will be served by
               continuing the trial; and that the purposes served by continuing the trial date in
               this case outweigh the interest of the defendant and the public in a speedy trial.
               Accordingly, as to all defendants, the additional time arising as a result of the
               granting of the motion, the time between today’s date and February 3, 2014, shall
               be deemed excludable time in any computation of time under the requirements of
               the Speedy Trial Act, because despite counsel’s due diligence, additional time is
               needed to adequately prepare this case for trial and failing to grant additional time
               might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

               December 10, 2013.                    BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
